            Case 1:13-cv-00117-FMA Document 19 Filed 12/20/13 Page 1 of 1



      In The United States Court of Federal Claims
                                            No. 13-117C

                                      (Filed: December 20, 2013)
                                              __________

 APTERYX, INC.,

                         Plaintiff,

        v.

 THE UNITED STATES,

                         Defendant.
                                             __________

                                              ORDER
                                             __________

        On December 19, 2013, the parties filed a joint motion for enlargement of the fact
discovery deadline. The motion is hereby GRANTED. Accordingly, the court hereby adopts
the following schedule:

       1.       On or before June 13, 2014, the parties shall conclude fact discovery; and

       2.       On or before June 20, 2014, the parties shall file a joint status report
                indicating a proposed schedule for expert discovery or, if the parties will
                not rely on expert witnesses, a joint status report indicating how this case
                should proceed, with a proposed schedule, as appropriate.

       IT IS SO ORDERED.




                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
